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                      UNITED STATES DISTRICT COURT

                              DISTRICT OF MAINE


 UNITED STATES OF AMERICA,                 )
                                           )
                                           )
 V.                                        )   CRIMINAL NO. 2:10-CR-136-DBH-01
                                           )
 SHAREEF NASH,                             )
                                           )
                         DEFENDANT         )


                 ORDER ON MOTION TO APPOINT COUNSEL


      The defendant Shareef Nash is serving a lengthy federal prison sentence

imposed by this Court. The defendant recently filed a letter with this Court

requesting appointment of counsel to seek a sentence reduction based upon the

United States Sentencing Commission’s recent decision to make retroactive a

reduction in penalties for certain drug-related sentences. Letter from Shareef

Nash to Clerk of Court dated January 4, 2016 (ECF No. 936); see U.S. Sentencing

Guidelines Manual app. C, Amendment 782 (2014); U.S. Sentencing Guidelines

Manual § 1B1.10(d) (2015).

      At his sentencing in February of 2013, Nash was held responsible for 2.3

kilograms of cocaine base, which generated a base offense level (BOL) of 34. He

then received a 2-level increase for possessing firearms, a 4-level increase for his

role in the offense, a 2-level increase for the use and involvement of a juvenile in

the offense, and a 3-level reduction for acceptance of responsibility, resulting in

a total offense level (TOL) of 39. He had a Criminal History Category V, making
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his guideline range for imprisonment 360 months to Life. He was given a variant

sentence of 240 months of imprisonment.

      Under the Guidelines as amended, the defendant’s BOL is reduced to 32

and his TOL is reduced to 37, resulting in a revised guideline range of

imprisonment 324 to 405 months.

      Because the original sentence I imposed is already below the revised

guideline range, Nash is not eligible for any further reduction.         See U.S.

Sentencing Guidelines Manual § 1B1.10(b)(2)(A) (“[T]he court shall not reduce

the defendant’s term of imprisonment . . . to a term that is less than the

minimum of the amended guideline range”).

      Therefore, the defendant’s motion to appoint counsel to seek a sentence

reduction (treated also as a motion to reduce sentence) is DENIED.

      SO ORDERED.

      DATED THIS 20TH DAY OF JANUARY, 2016

                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE
